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                                 UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION




Tammy Kohr, et al.
                                       Plaintiff,
v.                                                                   Case No.: 4:17−cv−01473
                                                                     Judge Kenneth M Hoyt
City Of Houston
                                       Defendant.



                                          Official Transcript Filed

An official transcript has been filed. It may contain information protected from public disclosure by law.
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                                             David J. Bradley, Clerk
